IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

(Northern Division)
REVEREND ALICIA BYRD, Ph.D., *
Plaintiff, *

*

v. Civil Action No .: l7-cv-03251-DKC
BISHOP WILLIAM P. DEVEAUX, SR., et al., *

Defendants. *

* * * * * * * * * * >l= * *

MEMORANDUM IN SUPPORT OF DEFENDANTS'
MOTION FOR SUMMARY JUDGMENT

The central issues in this case involve the internal church policies and procedures
of the African Methodist Episcopal Church, Inc. ("AME Church") and the Washington Annual
Conference of the African Methodist Episcopal Church ("Washington Conference") and the
church's discipline of one of its now former pastors - matters which the First Amendment
provides are left to the churches themselves and are not subject to judicial intervention Plaintiff
Alicia Byrd, Ph.D. ("Plaintiff') disagrees with the church's decision to remove her as a pastor
and has brought false light invasion of privacy claims for statements allegedly made by Bishop
William P. DeVeaux, Sr. ("Bishop DeVeaux"), the AME Church, and the Washington
Conference (collectively, "Defendants") in connection with her removal as a pastor.

Plaintiffs claims fail for a number of reasons. First, her claims are barred by the First
Amendment, the ecclesiastical abstention doctrine, and the ministerial exception because the
subject of this lawsuit is the church's internal policies and procedures. Second, her claims fail as
a matter of law because the undisputed facts demonstrate that she cannot satisfy each of the

elements of her claims as to each of the Defendants. Third, her claims are subject to the common

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interest privilege. Fourth, her claim for vicarious liability fails as a matter of law because there
is no such standalone cause of action. And, finally, the undisputed facts demonstrate that she is
not entitled to punitive damages.

Because Plaintiff cannot prevail as a matter of law on any of her claims, the Court should
enter summary judgment in Defendants' favor as to each of Plaintiffs claims.
I. FACTS MATERIAL TO MOTION FOR SUMMARY JUDGMENT

A. Plaintiff's Employment with the Washington Conference

St. Stephens African Methodist Episcopal Church, Inc. ("St. Stephens") is a church
located within the Washington Conference of the Second Distn'ct of the AME Church. See Ex.
A (Declaration of Bishop William P. DeVeaux, Sr.), W 4-6. Plaintiff was appointed as pastor of
St. Stephen's in 1988 and remained as a pastor until she was placed on administrative leave in
2015. Ia'., 11 10; see also Ex. B (Deposition Testimony of Alicia Byrd, Ph.D.), at 22-23.

B. St. Stephens' Financial Troubles

At the beginning of 201 5, Bishop DeVeaux first learned that St. Stephens was at
imminent risk of foreclosure. Ex. A, 11 12. The foreclosure sale was scheduled to occur on
March ll, 2015. Id. Bishop DeVeaux communicated with Plaintiff and leaders within the
Washington Conference to obtain information about how it came to be that St. Stephens was in
danger of losing the church property. Id. Bishop DeVeaux learned that a loan secured by the
real property upon which St. Stephens is located Was in default. Id. Bishop DeVeaux and
Washington Conference leaders immediately took steps to avoid the foreclosure sale and save
the St. Stephens property. Ia'., jj l3. On March lO, 2015, St. Stephens filed a bankruptcy

petition to stay the foreclosure proceedings Id.

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C. The Ministerial Efficiency Committee's Review of Plaintiff

Given the status of the foreclosure proceedings, Bishop DeVeaux had serious concerns
about how the St. Stephens church property came to be used as Security for the loan and whether
Plaintiff followed the proper internal church procedures for encumbering real property owned by
the AME Church. Ia'., 11 l4. Accordingly, Bishop DeVeauX referred Plaintiff to the Washington
Conference's Ministerial Efficiency Committee ("MEC"), which reviews the efficiency and
moral conduct of pastors referred to the MEC. Id., 111 15. Plaintiff had the opportunity to attend
and present information to the MEC, which she did on two occasions. Ex. B, at 32:13-18; see
also Ex. C (Deposition Testimony of Rev. Anna Mosby), at 13:9-18; 21 :8-13. The second of
those two meetings occurred at the 2015 Washington Conference Annual Conference. Ex. B, at
32:19-21. The Armual Conference is generally a meeting of church leaders within the
Washington Conference to discuss various matters of import to church members and to worship
together as a conference. See Ex. A, 11 8.

The MEC deliberated at the Armual Conference and issued a report containing its
recommendation that Plaintiff be placed on administrative leave (the "Report"). Ex. D; see also
EX. I, at 23:6-18.l The Report contains the following statements that Plaintiff disputes:

a. St. Stephens AME Church did not receive permission to
collateralize the Church property from the Conference
Trustees

b. Secondly, Rev. Byrd failed to get approval by way of
resolution from the quarterly conference

c. Rev. Byrd was eight years delinquent in paying the

mortgage leading to foreclosure resulting in a March llth
bankruptcy filing.

 

l The MEC issued a second report dated March 17, 2016; however, that report is not the
subject of Plaintiff‘s Complaint.

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Ia'. As is standard practice for all committee reports issued at the Annual Conference, the Report
was read aloud to church leaders and members in attendance at the Annual Conference. Ex. C, at
34 :2-1 3 .

D. Plaintiff's Claims in This Lawsuit

On September 27, 2017, Plaintiff filed her Complaint in the Circuit Court for Prince
George's County, which Defendants later removed to this Court. See ECF 2. Plaintiff’s
Complaint contains two counts: Count I- False Light Invasion of Privacy, and Count ll -
"Alternate Liability of Washington Conference of the Second Episcopal District of the African
Methodist Episcopal Church and General Conference of the AME Church." Ia'. In her
Complaint, Plaintiff claims that the statements in the MEC Report are false. Plaintiff seeks
compensatory damages in the amount of Three Million Six Hundred Thousand and Five
Hundred Dollars ($3,600,500.00); and punitive damages in the amount of Ten Million Eight

Hundred Fifteen Thousand Dollars ($10,815,000.00). Id. at 22-23.2

 

2 On August l, 2018, well after the deadline for filing amended pleadings or joining

additional parties, Plaintiff filed a motion for leave to amend her complaint. See ECF 30.
Defendants will be filing an opposition to that motion before the deadline for doing so; however,
that motion should not impact the Court's decision on Defendants' motion for summary judgment
because the proposed amendments would be futile as they too would fail for the reasons stated in
this motion. See Douglas v. S.C. Dep't of Highways & Pub. Transp., 8l3 F.2d 1227 (4th Cir.
1987) (denying motion to amend because plaintiff "was unable to present any evidence to
support his amendment"); Tech. Patents LLC v. Deutsche Telekom AG, 800 F. Supp. 2d 690, 700
(D. Md. 2011) afa' sub nom. on other grounds by Tech. Patents LLC v. T-Mobile (UK) Lta'., 700
F.3d 482 (Fed. Cir. 2012) (denying plaintiffs motion to amend because "even if the Court were
to allow [plaintiff] to amend its claim charts, Defendants would still be entitled to summary
judgrnen " and proposed amendment was therefore "futile"); see also U.S. Dev. Corp. v. Peoples
Fed. Sav. & Loan Ass'n, 873 F.2d 731, 736 n.4 (4th Cir. 1989) (stating that its "opinion must not
be read as a tacit endorsement of last-second amendments alleging meritless claims in an attempt
to save a case from summary judgment" and noting that "[t]rial courts should be wary of and
unreceptive to such tactics").

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II. THE APPLICABLE LEGAL STANDARD

Fed. R. Civ. P. 56(a) provides that "[t]he court shall grant summary judgment if the
movant shows that there is no genuine dispute as to any material fact and the movant is entitled
to judgment as a matter of law." "'By its very terms, this standard provides that the mere
existence of some alleged factual dispute between the parties will not defeat an otherwise
properly supported motion for summary judgrnent; the requirement is that there be no genuine
issue of material fact.'" Howell v. Springfiela' Hosp. Ctr., No. CIV. A. JFM-13-811, 2014 WL
1388262, at *2 (D. Md. Apr. 7, 2014) (quoting Ana'erson v. Liberty Lobby, Inc., 477 U.S. 242,
247-48 (1986)) (emphasis in Anderson); see also T rundle v. Homeside Lena'ing, Inc., 162 F.
Supp. 2d 396, 399 (D. Md. 2001) (stating that "a mere scintilla of evidence is not enough to
create a fact issue") (internal citation and quotation omitted).

A "'party opposing a properly supported motion for summary judgment may not rest upon
the mere allegations or denials of [his] pleadings, but rather must set forth specific facts showing
that there is a genuine issue for trial.'" Howell, 2014 WL 1388262, at *2 (quoting Bouchat v.
Baltimore Ravens Football Club, Inc., 346 F.3d 514, 525 (4th Cir.2003)). Plaintiff, as the "party
who bears the burden of proof on a particular claim must factually support each element of . . .
her claim." Truna'le, 162 F. Supp. 2d at 398-99. "'[A] complete failure of proof concerning an
essential element . . . necessarily renders all other facts immaterial.'" Ia'. at 399 (quoting Celotex
Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

"'One of the principal purposes of the summary judgment rule is to isolate and dispose of
factually unsupported claims or defenses,' and Rule 56 must be interpreted and applied 'in a way
that allows it to accomplish this purpose.'" Carr v. Deea's, 453 F.3d 593, 605 (4th Cir. 2006)

(quoting Celotex, 477 U.S. at 324-25). In considering a motion for summary judgrnent,

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therefore, "[t]he court must. . .abide by the 'affirmative obligation of the trial judge to prevent
factually unsupported claims and defenses from proceeding to tria ."' Howell, 2014 WL
1388262, at *2 (quoting Bouchat, 346 F.3d at 526). Thus, "summary judgment [is] not a
'disfavored procedural shortcut,"' but rather a means to prevent the necessity and expense of
preparation for trial in cases in which the trier of fact could not reasonably find for the plaintiff
See Celotex, 477 U.S. at 327.

III. ARGUMENT

A. The Court Lacks Subject Matter Jurisdiction Over Plaintiff's Claims
Based on t_he Ecclesi_astical Abstent_ion Doctrine

The First Amendment to the United States Constitution,3 applicable to the states through

the Fourteenth Amendment,4 and Article 36 of the Maryland Declaration of Rights5 divest civil

 

3 The First Amendment provides, in pertinent part: "Congress shall make no law respecting

an establishment of religion, or prohibiting the free exercise thereof . . . ." U.S. Const. amend. I

4 The Fourteenth Amendment provides, in pertinent part:
All persons born or naturalized in the United States, and subject to
the jurisdiction thereof, are citizens of the United States and of the
State wherein they reside. No State shall make or enforce any law
which shall abridge the privileges or immunities of citizens of the
United States; nor shall any State deprive any person of life,
liberty, or property, without due process of law; nor deny to any
person within its jurisdiction the equal protection of the laws.

U.S. Const. amend. XIV, § 1.

5 Articles 36 of the Maryland Declaration of Rights states:

That as it is the duty of every man to worship God in such
manner as he thinks most acceptable to Him, all persons are
equally entitled to protection in their religious liberty; wherefore,
no person ought by any law to be molested in his person or estate,
on account of his religious persuasion, or profession, or for his
religious practice, unless, under the color of religion, he shall
disturb the good order, peace or safety of the State, or shall
infringe the laws of morality, or injure others in their natural, civil
or religious rights; nor ought any person to be compelled to
frequent, or maintain, or contribute, unless on contract, to
maintain, any place of worship, or any ministry; nor shall any
person, otherwise competent, be deemed incompetent as a witness,

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courts of subject matter jurisdiction over litigation involving church government, discipline, and
religious faith and doctrine. Specifically, the Free Exercise Clause and the Establishment Clause
(the "Religion Clauses") prevent the government from interfering in matters of internal church
governance and ecclesiastical decisions, as well as matters of faith and religious doctrine. This
general principle, sometimes referred to as the ecclesiastical abstention doctrine, has been
recognized by the United States Supreme Court, various United States Courts of Appeals,
including the Fourth Circuit, and Maryland's appellate courts. See generally Hosanna-Tabor
Evangelical Lutheran Church ana1 School v. EEOC, 565 U.S. 171 (2012) [hereinafter Hosanna-
Tabor]; Kedroffv. St. Nicholas Cathea'ral, 344 U.S. 94 (1952); Rayburn v. Gen. Conference of
Seventh-Day Aa'ventist, 722 F.2d 1164, 1169 (4th Cir. 1985); Prince ofPeace Lutheran Church
v. Linklater, 421 Md. 664 (2011) [hereinafcer Linklater]; Montrose Christian School v. Walsh,
363 Md. 565 (2001); Bourne v. Center on Chila'ren, 154 Md. App. 42 (2003); Downs v. Roman
Catholic Archbishop of Baltimore, 111 Md. App. 616 (1996).

In determining whether a court has subject matter jurisdiction over a case involving
religious issues, "the inquiry . . . in light of the applicable federal and state constitutional
religious provisions . . . focuses on the facts of the lawsuit and whether the claims asserted are

'purely secular' or not." Bourne, 154 Md. App. at 57. If the claims are not purely secular, the

 

or juror, on account of his religious belief`, provided, he believes in
the existence of God, and that under His dispensation such person
will be held morally accountable for his acts, and be rewarded or
punished therefor either in this world or in the world to come.
Nothing shall prohibit or require the making reference to
belief in, reliance upon, or invoking the aid of God or a Supreme
Being in any governmental or public document, proceeding,
activity, ceremony, school, institution, or place.
Nothing in this article shall constitute an establishment of
religion.
Md. Const. Decl. of Rts. art. 36.

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Court lacks subject matter jurisdiction to hear the case. See generally Downs, 111 Md. App. 616
(affirming the dismissal of plaintiffs defamation claims pursuant to ecclesiastical abstention
doctrine); Bourne, 154 Md. App. 42 (affirming summary judgment for religious organization
based upon the ecclesiastical abstention doctrine); Prioleau v. Richara'son, No. 1796 (Md. Ct.
Spec. App. Dec. 17, 2012) (affirming dismissal of plaintiffs false light invasion of privacy,
defamation, and intentional infliction of emotional distress claims because court lacked subject
matter jurisdiction based on the First Amendment) (attached hereto as Exhibit E); see also Patton
v. Jones, 212 S.W.3d 541, 547-48 (Tex. App. 2006).

In determining whether an issue is a religious or purely secular one, courts have
recognized that "religious organizations require 'an independence from secular control or
manipulation - in short, power to decide for themselves, free from state interference, matters of
church govemment, as well as those of faith and doctrine.'" Bourne, 154 Md. App. at 52-53
(quoting Kea'rojf 344 U.S. at 116). Specifically, "the First Amendment provides religious
institutions with significant freedoms with regard to matters concerning "'theological
controversy, church discipline, ecclesiastical govemment, or the conformity of the members of
the church to the standard of morals required of them.'" Downs, 111 Md. App. at 622 (quoting
Watson v. Jones, 80 U.S. 679, 733 (1871)). "'The purpose of this exclusion is to free civil courts

"' Bourne,

completely from entanglement in questions of religious doctrine, polity and practice.
154 Md. App. at 53 (quoting Downs, 111 Md. App. at 622). ""Even where the dispute actually
presented to the court is one that, if presented by any other set of litigants, would clearly be

justiciable, if the resolution of that dispute between the litigants at hand would require the court

to adjudicate matters of church doctrine or governance, or to second-guess ecclesiastical

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decisions made by a church body created to make those decisions, the matters falls outside the
court’s authority."" Id. (quoting Downs, 111 Md. App. at 622).

Moreover, when dealing with claims such as false light invasion of privacy, "questions of
truth, falsity, [and] malice . . . often take on a different hue when examined in the light of
religious precepts and procedures . . . ." Downs, 111 Md. App. at 624. "When allegedly
defamatory statements are made during the process of determining fitness for religious
leadership positions, even if the statements are invalid and unfair, such speech is protected
through the ambit of the First Amendment freedom of religion provisions." Bourne, 154 Md.
App. at 56. Claims such as false light invasion of privacy and defamation require review of the
church's stated reason for the discharge, which is "an essentially ecclesiastical concem." Black v.
Snyder, 471 N.W.2d 715, 720 (Minn. Ct. App. 1991), cited with approval by Linklater, 421 Md.
at 689.

The Supreme Court has recognized that "whenever the questions of discipline, or of
faith, or ecclesiastical rule, custom or law have been decided by the highest of church
judicatories to which the matter has been carried, the legal tribunals must accept such decisions
as final, and as binding on them." Hosanna-Tabor, 565 U.S. at 186 (internal citations omitted).
Furtherrnore, the Court explained that:

[T]he First Amendment permits hierarchical religious organizations to establish

their own rules and regulations for internal discipline and government, and to

create tribunals for adjudicating disputes over these matters . . . by inquiring into

whether the Church . . . followed its own procedures, [civil courts]

unconstitutionally undertake[] the resolution of quintessentially religious

controversies whose resolution the First Amendment commits exclusively to the

highest ecclesiastical tribunals of the Church.

Id. at 187 (intemal citations omitted).

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Here, Plaintiffs claims for false light invasion of privacy are based upon the alleged
actions of the Washington Conference, the AME Church, and Bishop DeVeaux in connection
with referring Plaintiff to the church's MEC and in publishing the Report issued after the MEC's
review of whether Plaintiff complied with internal AME Church policies and procedures.
Plaintiff contends that the statements contained in the MEC's Report were false because the
Doctrine and Discipline of the African Methodist Episcopal Church (the "Discipline"), which are
"the operating rules for the church" (see Ex. B, at 29:6-15), did not require her to take the actions
described in the Report. Plaintiff also contends that in connection with the MEC's deliberations
regarding the St. Stephens matter, the Defendants did not follow the policies and procedures set
forth in the Discipline.

These issues would require the Court to interpret the Discipline, determine whether the
MEC followed the internal church policies and procedures set forth in the Discipline, and
determine whether Plaintiff complied with the internal church policies and procedures set forth
in the Discipline for obtaining a mortgage on church-owned property. Indeed, at the depositions
of the MEC members and other church leaders, they were repeatedly questioned by Plaintiffs
counsel regarding their understanding of the Discipline. See, e.g., Ex. C, at 9:5-20, 12:2-13; Ex.
F (Deposition Testimony of Rev. Michelle Langston), at 14:17 to 15:14, 23:17 to 24:11, 30:4 to
32:20, 61 :15 to 62:18; Ex. G (Deposition Testimony of Rev. Ronald Braxton), at 10:6 to 11:21,
1913-21, 23:14-20, 27:18-20, 29:1-9; Ex. H (Deposition Testimony of Rev. Grainger Browning),
at 8:19 to 9:10, 17:18 to 18:11, 37:5-21; Ex. l (Deposition Testimony ofRev. Lee P.
Washington), at 8:14-20, 26:4 to 28:5; Ex. J (Deposition Testimony of Rev. William H. Lamar,

IV), at 9:4-9, 11:12-21, 17:5 to 18:21, 28:7 to 29:15, 39:15 to 41:5; Ex. K (Deposition Testimony

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of Rev. Henry Young White), at 8:9-17, 23:2-8.6 Accordingly, Plaintiffs claim is a matter
concerning "theological controversy, church discipline, ecclesiastical government, [and] the
conformity of the members of the church to the standard of morals required of them." Bourne,
154 Md. App. at 53 (intemal citations omitted).

This Court, therefore, does not have subject matter jurisdiction over Plaintiffs claims
because doing so would require the court to (l) interject secular law into matters of AME Church
governance, discipline and administration; (2) inquire into the Church's process of determining
who can continue on as clergy and the fitness of its clergy; and (3) engraft common law duties
upon ecclesiastical relationships All of these matters are explicitly exempt fi‘om consideration
by civil courts by virtue of the First Amendment's Religion Clauses and the Maryland
Declaration of Rights. Put simply, Plaintiffs Complaint asks that a civil court rule upon matters
that fall squarely within the freedoms guaranteed by the First Amendment.

B. Plaintiff' s Claims Are Barred by the Ministerial Excegtion Doctrine

Plaintiffs claims in this lawsuit involve issues of how the AME Church makes

employment decisions, pastoral assignments and reviews pastoral qualifications7 Although she

 

6 As of the filing of this memorandum, Defendants have not yet received a copy of the

transcript of the deposition of the MEC Chair, Rev. Michael Bell; however, Rev. Bell was asked
similar questions regarding the Discipline, and Defendants can supplement their memorandum
with that deposition testimony when they receive the transcript from the court reporter.
7 Importantly, Plaintiff consented to be governed by church procedures based on her
voluntarily decision to join the church's clergy as a pastor. The Supreme Court has said:

The right to organize voluntary religious associations to assist in

the expression and dissemination of any religious doctrine, and to

create tribunals for the decision of controverted questions of faith

within the association, and for the ecclesiastical government of all

the individual members, congregations, and officers within the

general association, is unquestioned All who unite themselves to

Such a body do so with an implied consent to this government, and

are bound to submit to it. But it would be a Vain consent and would

lead to the total subversion of such religious bodies, if any one

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has pled her claim as one for false light invasion of privacy, her allegations and the damages she
seeks make clear that the crux of her complaint is that she was removed from her position as
pastor. Plaintiffs claims, therefore, are barred by the ministerial exception.8

The Supreme Court and Maryland courts alike have recognized a ministerial exception
that applies to employment-related decisions regarding church employees and pastoral
qualifications See, e.g., Hosanna-Tabor, 565 U.S. 171; Linklater, 421 Md. 664; see also
Rayburn, 722 F.2d at 1169; Montrose Christian, 363 Md. at 590-91, 597. Pursuant to the
ministerial exception, such employment-related decisions are protected because " governmental
interference with a church's ability to select and manage its own clergy would violate both the
Free Exercise Clause and the Establishment Clause of the First Amendment." Montrose
Christian, 363 Md. at 591 (internal quotation omitted). Because religious organizations, such as
the AME Church, are protected from governmental interference by the constitutional
prohibitions against excessive entanglement, a court cannot use the common law to interfere with

employment and disciplinary decisions of religious organizations, when the decision complained

 

aggrieved by one of their decisions could appeal to the secular

courts and have them reversed. lt is of the essence of these

religious unions, and of their right to establish tribunals for the

decision of questions arising among themselves, that those

decisions should be binding in all cases of ecclesiastical

co gnizance, subject only to such appeals as the organism itself

provides for.
Kedrojj§ 344 U.S. at 114-15 (internal quotation and citation omitted). Consequently, by joining
the AME Church’s clergy, Plaintiff agreed to be governed by the AME Church processes for
review of her qualifications and status as a clergy member.
8 The Supreme Court has said that the ministerial exception "operates as an affirmative
defense to an otherwise cognizable claim, not a jurisdictional bar. That is because the issue
presented by the exception is 'whether the allegations the plaintiff makes entitle him to relief,' not
whether the court has 'power to hear [the] case.'" Hosanna-Tabor, 565 U.S. at 195 n.4 (quoting
Morrison v. National Australia Bank Ltd., 561 U.S. 247, 254 (2010) (intemal quotation marks
omitted)).

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of involves consideration of an internal church decision that affects the faith and mission of the
church.

In applying the ministerial exception, the Supreme Court has said that "the purpose of the
exception is not to safeguard a church's decision to fire a minister only when it is made for a
religious reason. The exception instead ensures that the authority to select and control who will
minister to the faithful_a matter strictly ecclesiastical_is the church's alone." Hosanna-Tabor,
565 U.S. at 194-95 (internal quotation and citation omitted); see also Melhorn v. Baltimore
Washington Conference of United Methoa’ist Church, No. 2065, 2016 WL 1065884, at *4 (Md.
Ct. Spec. App. Mar. 16, 2016), cert. denied sub nom. Melhorn v. Baltimore- Washington
Conference, 448 Md. 31 (2016), cert. denied, 137 S. Ct. 377 (2016). In discussing the
importance of the ministerial exception, the Supreme Court stated:

The members of a religious group put their faith in the hands of
their ministers Requiring a church to accept or retain an unwanted
minister, or punishing a church for failing to do so, intrudes upon
more than a mere employment decision. Such action interferes
with the internal governance of the church, depriving the church of
control over the selection of those who will personify its beliefs
By imposing an unwanted minister, the state infringes the Free
Exercise Clause, which protects a religious group’s right to shape
its own faith and mission through appointments According the
state power to determine Which individuals will minister to the
faithful also violates the Establishment Clause, which prohibits
government involvement in such ecclesiastical decisions
Hosanna-Tabor, 565 U.S. at 188.

"For the ministerial exception to bar a claim, two factors must be present: the employer
must be a religious institution, and the employee must have been a ministerial employee." Curl
v. Beltsville Adventist Sch., No. GJH-15-3133, 2016 WL 4382686, at *8 (D. Md. Aug. 15, 2016).
Here, it is undisputed that the AME Church and the Washington Conference are religious

institutions (Ex. A, 11 23), and that Plaintiff was a ministerial employee (Ex. B, at 22:8 to 23:18).

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Furthermore, the Court cannot determine if certain of the statements in the Report are false
without having to make a determination as to what the AME Church's policies are procedures are
and Whether Plaintiff complied with those policies and procedures "Such a determination is of
the precise type that the ministerial exception precludes secular courts from making." Melhorn,
2016 WL1065884, at *5.

Thus, Defendants are entitled to judgment as a matter of law based on the ministerial
exception,

C. The Undisputed Facts Demonstrate that Plaintiff Cannot Prove Her
Claim for Fa_lse Light Invasion of Privacy

Even assuming arguendo that the Court has jurisdiction to hear the case (it does not),
Plaintiff cannot carry her burden of establishing each of the elements of her false light invasion
of privacy claims against each of the Defendants. Those elements are:

1) that the defendant gave "publicity to a matter concerning

another that places the other before the public in a false light," 2)

that "the false light in which the other person was placed would be

highly offensive to a reasonable person," and 3) that "the actor had

knowledge of or acted in reckless disregard as to the falsity of the

publicized matter and the false light in which the other would be

placed."
Davidson-Nadwodny v. Wal-Mart Assocs., Inc., No. CIV. A. CCB-07-2595, 2008 WL 2415035,
at *5 (D. Md. June 3, 2008) (quoting Bagwell v. Peninsula Regional Medical Center, 106 Md.
App. 470, 513_14 (1995)); see also Wuenschel v. Kristo]j§ No. CV JKB-17-1446, 2017 WL
3414040, at *3 (D. Md. Aug. 9, 2017); Holland v. Psychological Assessment Res., lnc., 482 F.
Supp. 2d 667, 681 (D. Md. 2007).

Here, Plaintiff cannot carry her burden of proof as to any of these elements

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1. Lae Repgrt Wgs Not Made to tl_le PublMt Larg§

Plaintiffs false light invasion of privacy claim fails as a matter of law because the alleged
disclosure about which Plaintiff complains_the reading of the Report_was not the disclosure
of "'private facts to the 'public at large."' Davidson-Nadwodny, 2008 WL 2415035, at *5
(quoting Mazer v. Safeway, Inc., 398 F. Supp. 2d 412, 431 (D. Md. 2005)); see also Meaney v.
Nationstar Mortg., No. CV TDC-16-2959, 2018 WL 1014927, at *14 (D. Md. Feb. 21, 2018)
(stating that "a false light claim requires a defendant to communicate 'to the public at large, or to
so many persons that the matter must be regarded as substantially certain to become one of
public knowledge'") (quoting Cambridge Title Co. v. Transamerica Title Ins. Co., 817 F. Supp.
1263, 1278 (D. Md. 1992)); Rangarajan v. Johns Hopkins Health Sys. Corp., No. CIV.A. WMN-
12-1953, 2014 WL 6666308, at *6-7 (D. Md. Nov. 21, 2014).

Here, it is undisputed that the Report did not contain private facts about Plaintiff. Rather,
the Report contained facts about the church's internal affairs and the matters that occurred with
the St. Stephens church and church property. See Ex. D. Furtherrnore, the Report was not
published to the public at large, nor was it read in front of the general public. See Ex. A, 111[ 20-
21; Ex. C, at 34:2-13. Rather, consistent with internal church policies and procedures, it was
provided only internally to church members in attendance at the Annual Conference, where it
was read aloud by a member of the MEC. See Ex. A, 1111 20-21; Ex. C, at 34:2-13. Thus, there
was no publication to the public at large or to so many non-church members that it should be
regarded as certain to become a matter of public knowledge Rather, the Report was the church's
internal publication and was not shared with anyone other than its own members in attendance at

the Washington Conference and remained an internal church publication

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2. The Report Was Not Higl_llv Offen_sive to g Reasol_lable Person

Plaintiffs claims also fail as matter of law because the Report does not contain statements
that would be highly offensive to a reasonable person Although "numerous 'misrepresentations
and alleged [false] facts,'" may be sufficient to satisfy the highly offensive statement, a "single
allegation of falsehood" is not. KDSTI Slassie Tewahdo Church v. Ghebreamlak, No. CV DKC
2007-0863, 2008 WL 11366449, at *7 (D. Md. July 17, 2008) (quoting Ostrzenski v. Seigel, 177
F.3d 245, 252 (4th Cir. 1999)). Here, Plaintiffs claim does not concern numerous alleged false
statements or misrepresentations it is focused solely on the Report. At most, the Report contains
two statements about which Plaintiff complains: (1) that she was eight years delinquent in paying
the SSEDC mortgage; and (2) that she failed to get proper church approval before obtaining the
mortgage Such isolated statements contained in a single report do not satisfy the highly
offensive element of a false light invasion of privacy claim.

3. The Report Was Not Made With Knowledge that it was False or
wilh Recl_<less Disregard for the Trl_!§l_\

An essential requirement to proving the false light claim is that Plaintiff prove that
Defendants had knowledge of or acted in reckless disregard of the publicized matter placing
Plaintiff in a false light. Davidson-Nadwodny, 2008 WL 2415035, at *5 (quoting Bagwell, 106
Md. App. at 513-14).

Knowledge of, or reckless disregard as to, falsity is also known as the actual malice
standard. See Bagwell, 106 Md. App. at 512-l3. Actual malice is established "where the
plaintiff shows that the defendant published the statement in issue either with reckless disregard
for its truth of with actual knowledge of its falsity." la1 at 512 (affirming summary judgment for
defendants) (intemal citation omitted).

Reckless disregard is a substantially higher hurdle than negligence Specifically,

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"Actual malice" cannot be established merely by showing that the

publication was erroneous, derogatory or untrue; the publisher

acted out of ill will, hatred or a desire to injure...; the publisher

acted negligently; the publisher acted in reliance on the unverified

statement of a third party without personal knowledge of the

subject matter of the defamatory subject; or the publisher acted

without undertaking the investigation that would have been made

by a reasonably prudent person Moreover, malice is not

established if there is evidence to show that the publisher acted on

a reasonable belief that the defamatory material was "'substantially

correct'" and "there was no evidence to impeach the [publisher’s]

good faith," New York Tirnes Co. v. Sullivan, 376, U.S. 254, 286,

(1 964).
Bagwell, 106 Md. App. at 512-13 (quoting Capital-Gazette Newspapers, Inc. v. Stack, 293 Md.
528, 539-40 (1982)).

Plaintiff has failed to provide any evidence that any Defendant made a statement in the

Report with either actual knowledge or reckless disregard for the truth of the statements
contained herein under the heightened standard articulated above Not a single MEC member
testified that Bishop DeVeaux or any other church employee or agent knew at the time the
Report was issued that any statement therein Was false Moreover, the testimony of the MEC
members reveals that the Report was not created with reckless disregard for the truth of the
matters contained therein The Report was issued after Plaintiff had the opportunity to speak
With and present documents to the MEC, the MEC spoke with members of Plaintiffs church
regarding the matters, and the MEC had a chance to deliberate regarding the issues concerning
Plaintiff`. See, e.g., Ex. B, at 32:10-18; Ex. C, at 13:8-18, 15:2-8, 21:3-11, 23:10-21; Ex. F, at
381 17 to 39:11. As such, the MEC operated under a reasonable belief that the statements in
question were substantially correct. See, e.g., Ex. C at 24:5 to 26:16; Ex. F, at 48:21 to 50:14.

Further, Plaintiff has demonstrated no evidence impeaching the MEC's or Bishop DeVeaux's

subjective good faith belief as to the truth of the Report's contents

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Accordingly, Plaintiffs false light invasion of privacy claim fails as a matter of law.

4. Bishop DeVeaux Did Not Make or Publicize the Report, and
Therefore. He Did Not Place Plaintiff in a False Light

In pursuing a false light claim against Bishop DeVeaux, Plaintiff attempts to obtain
redress against an individual who neither made nor publicized the statements in the Report. lt is
undisputed that Bishop DeVeaux did not participate in the investigation or deliberations of the
MEC. Ex. A, 1111 16-17; Ex. C, at 27:17 to 28:5; Ex. F, at 51 :10-17; Ex. H, at 20:9-10; Ex. I, at `
33:2-5; Ex. J, at 13:15-18, 33:3-17. Bishop DeVeaux merely referred Plaintiff to the MEC for
investigation Ex. A, 11 15. He did not formulate or draft the conclusions reached by the MEC in
its Report, nor did he personally publicize the relevant statements in the Report. Id., 11 18. A
member of the MEC read the Report to attendees of the Washington Annual Conference Ex. C,
at 34:2-7. As Bishop DeVeaux did not make the Report nor publicize any of the statements in
question, he simply cannot be individually liable under a false light claim.

D. Plaintiff's Claims Are Barred by the Common Interest Conditional
Privilege

Assuming solely for the purpose of argument that Plaintiff can establish a prima facie
false light claim, the claim still fails as a matter of law because Defendants enjoy a common law
conditional privilege: the common interest privilege9

In describing the privilege, Maryland courts have explained that:

"[c]ommon interests are usually found among members of
identifiable groups in which members share similar goals or values

 

9 There are four common law conditional privileges: (1) the public interest privilege, to

publish materials to public officials on matters within their public responsibility; (2) the privilege
to publish to someone who shares a common interest, or relatedly, to publish in defense of
oneself or in the interest of others; (3) the fair comment privilege; and (4) the privilege to make a
fair and accurate report of public proceedings Seley-Raa'tke v. Hosmane, 450 Md. 468, 492-93
(201 6).

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or cooperate in a single endeavor. . ..The idea is to promote free

exchange of relevant information among those engaged in a

common enterprise or activity and to permit them to make

appropriate internal communications and share consultations

without fear of suit . . . ."
Seley-Radtke, 450 Md. at 493 (quoting Gohari v. Darvish, 363 Md. 42, 57 (2001)). Further, "a
common interest may include interests in property, business and professional dealings, and can
inhere in business dealings between the publisher and the recipient." Ia'. at 493 (intemal citations
omitted).

Importantly, Maryland caselaw widely recognizes that communications arising out of the
employer-employee relationship, even as far as accusing employees of criminal activity, "clearly
enjoy a qualified privilege." McDermott v. Hughley, 317 Md. 12, 28-29 (1989); see e.g. General
Motors Corp. v. Piskor, 277 Md. 165 (1976) (statements accusing auto assembly plant employee
of theft granted conditional privilege); Jacron Sales Co. v. Sindorf, 276 Md. 580 (1976),
overruled on other grounds by Le Marc's Mgmt. Corp. v. Valentin, 349 Md. 645 (1998)
(statements accusing former employee of theft granted conditional privilege); Hanrahan v. Kelly,
269 Md. 21 (1973) (letter charging partner with impropriety held privileged); Peurifoy v.
Congressional Motors, 254 Md. 501 (1969) (statements charging car dealership employee with
mismanagement held privileged); Stevenson v. Baltimore Club, 250 Md. 482 (1968), overruled
on other grounds by Marchesi v. Franchino, 283 Md. 131 (1978) (statements by baseball team
owner as to reasons for ticket sellers' discharge were qualifiedly privileged); Henthorn v.
Western Md. R.R. Co., 226 Md. 499 (1961) (railroad employee accused of theft and fired-charge

granted qualified privilege); Beeler v. Jackson, 64 Md. 589 (1886) (statements by employer

accusing railroad employee of theft were qualifiedly privileged).

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Though conditional privileges typically appear in the litigation of defamation claims,
"[a]n allegation of false light must meet the same legal standards as an allegation of defamation."
Piscatelli v. Van Srnith, 424 Md. 294, 306 (2012) (internal citations omitted). "Additionally, a
qualified privilege that would shield a defendant from liability for defamation applies equally to
a claim of false light invasion of privacy." Lindenmuth v. McCreer, 233 Md. App. 343, 367
(2017) (intemal citations omitted).

The facts of the case at bar overwhelmingly demonstrate the hallmarks for application of
the common interest privilege First, the parties to this case were, at all times relevant to the
Complaint, members of a clearly identifiable group in which members share similar goals or
values or cooperate in a single endeavor: the AME Church. Plaintiff was a pastor within the
AME Church for decades Ex. B, at 22:8 to 23:18. Bishop DeVeaux is a retired Bishop of the
AME Church and former presiding Bishop of the Second Episcopal District within the Church.
Ex. A, 11 1. Each of the members of the MEC, including the individuals deposed by Plaintiff, are
pastors or elders within the greater AME Church. Ex. C, at 6:9-19; Ex. F, at 8:13 to 9:4; Ex. G,
at 7:2-8; Ex. H, at 6:6-14; Ex. I, at 5:17-18; Ex. J, at 6:4-8; Ex. K, at 6:4-7. The Washington
Conference is an entity within the Second Episcopal District of the AME Church. Ex. A, 1111 4-5.
AME Church is the corporate entity of the greater AME Church. Id., 11 22. As all of these
individuals and entities are members of the same church, there can be no dispute as to the
existence of an identifiable group which shares similar goals and values for purposes of
determining the applicability of the common interest privilege

Second, the specific statements at issue in this case which form the basis of Plaintiffs
false light claim, are undeniably issues of property and business, which Maryland law recognizes

as categories of issues in which common interests may arise See Seley-Radtke, 450 Md. at 493

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("[A] common interest may include interests in property, business and professional dealings, and
can inhere in the business dealings between the publisher and the recipient.”). The central
factual issue giving rise to the statements in question in this case is whether or not church
property was collateralized without proper authority and whether Plaintiff placed church
property at risk of foreclosure See Ex. D. It is difficult to conceive of a clearer area of common
interest shared among members of a church than the proper stewardship and protection of church
property.

Third, the publication of the statements itself was made by a church pastor to other
members of the church. See Ex. C, at 34:2-13. Importantly, the statements were published at an
internal church event: the 2015 Washington Annual Conference See id.; see also Ex. A, 1111 20-
2 1 .

Finally, because Defendants have established the existence of the common interest
conditional privilege, Plaintiff bears the burden of proving facts that would support a finding of
malice See Piscatelli, 424 Md. at 308. While malice is usually a question for the fact-finder, it
need not be submitted to the fact-finder when the plaintiff fails to allege or prove facts that
would support a finding of malice Id. Importantly, malice is defined as "a person's actual
knowledge that his [or her] statement is false, coupled with his [or her] intent to deceive another
by means of that statement." ld. at 307-08. Plaintiff has demonstrated no evidence whatsoever
that Bishop DeVeaux had knowledge of the alleged falsity of any of the statements in question,
or more importantly, that Bishop DeVeaux specifically intended to deceive anyone Notably,

Bishop DeVeaux did not even make the statements in question10 Ex. A, 1111 17-18.

 

10 By attempting to prejudicially amend her Complaint at this late stage of the proceedings

to add as parties the members of the MEC, Plaintiff has implicitly conceded that it was the MEC,

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For all of the reasons stated above, the common interest privilege applies to bar Plaintiffs
false light claim as a matter of law.

E. AME and the Washington Conference Are Entitled to Judgment as a
Matter of Law as to Plaint_iff's Co\_lnt II for Vicarious Liability

In Count 11 of her Complaint, Plaintiff purports to allege a claim for "Alternate Liability"
of the AME Church and the Washington Conference See ECF 2, at 21-22. In that count,
Plaintiff alleges that the AME Church and the Washington Conference are "vicariously
responsible and liable" for the actions of Bishop DeVeaux. Ia'., 11 91. Accordingly, in Count II,
Plaintiff is asserting a respondeat superior claim, "Respondeat superior, however, is not a
separate cause of action, but rather is a doctrine that permits the imputation of liability on a
principal or employer for the act of an agent or employee." Davidson-Nadwodny, 2008 WL
2415035, at *5. Accordingly, the AME Church and the Washington Conference are entitled to
judgment as a matter of law as to Count II. See id. (dismissing respondeat superior claim when
raised as a separate cause of action).

Even assuming arguendo, that Plaintiff could raise the respondeat superior theory as a
separate claim, her claim would fail as a matter of law. Plaintiff seeks to impose liability on the
AME Church and the Washington Conference based on the conduct of Bishop DeVeaux.
Because Plaintiffs claim against Bishop DeVeaux fails as a matter of law, supra §§ lIl.A.-III.D.,
her respondeat superior claims against the AME Church and the Washington Conference

likewise fail.

 

rather than Bishop DeVeaux, Who issued the Report. As noted above, supra n.2, Plaintiffs'
purported claims against the MEC members would also fail as a matter of law.

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F. Defendants Are Entitled to Judgment as to Plaintiff' s Request for
Punitive Damages

In her Complaint, Plaintiff seeks ten million, eight hundred and fifteen thousand dollars
($10,815,000.00) in punitive damages Under Maryland law, a finder of fact may award punitive
damages only in rare and exceptional cases involving "'particularly heinous, egregious and
reprehensible conduct."' See Schaefer v. Aetna Life & Cas. Co., 910 F. Supp. 1095, 1101 (D.
Md. 1996) (quoting Montgomery Wara1 v. Wilson, 339 Md. 701, 734 (1995)). Thus, to win
punitive damages, a plaintiff must show by clear and convincing evidence that the defendant
acted with "actual malice" Id. at 1100-01 (citing Owens-Illinois, Inc. v. Zenobia, 325 Md. 420,
460, 469 (1992)); see also LeMarc's Mgrnt. Corp., 349 Md. at 654 (stating that plaintiff would
need to establish "by clear and convincing evidence, that the defendant had the requisite mens
rea, i.e., actual knowledge, to support such an award").

In general, "actual malice" means "a person's actual knowledge that his or her statement
is false, coupled with his or her intent to deceive another by means of that statement." See Seley-
Radtke, 450 Md. at 496 (citation and quotations omitted). Thus, to recover punitive damages in a
defamation action, a plaintiff must establish, inter alia, that the defendant made the defamatory
falsehood with actual knowledge that it was false See Bowden v. Caldor, Inc., 350 Md. 4, 23
(1998) (citing LeMarc s Mgrnt. Corp., 349 Md. at 655; Telnikojj"v. Matusevitch, 347 Md. 561,
594-95 (1997)).

Here, Plaintiff has not provided any evidence, let alone clear and convincing evidence,
that any Defendant had actual knowledge that any statement in the Report was false at the time it
was made See, supra, § III.C.3. Rather, Plaintiff relies solely on her own speculative
allegations, which are insufficient to withstand a motion for summary judgment. See, e.g.,

Howell, 2014 WL 1388262, at *2 (stating that a "party opposing a properly supported motion for

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summary judgment may not rest upon the mere allegations or denials of [his] pleadings, but
rather must set forth specific facts showing that there is a genuine issue for trial") (internal
quotation and citation omitted). Accordingly, even if the Court permits Plaintiff to proceed with
her claims in this case (it should not), Defendants are entitled to summary judgment as to her
request for punitive damages
IV. CONCLUSION

For the foregoing reasons, the Court should enter summary judgment in favor of each of

the Defendants as to each of Plaintiffs claims

Respectfully submitted,

Dated: August 6, 2018. /s/ Catherine M. Manofsky
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